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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION
LEAGUE OF UNITED LATIN AMERICAN           §
CITIZENS, et al.,                         §
                                          §
         Plaintiffs,                      §
                                          §
EDDIE BERNICE JOHNSON, et al.,            §
                                          §         Case No. 3:21-cv-00259
Plaintiff-Intervenors,                    §              [Lead Case]
                                          §
V.                                        §
                                          §
GREG ABBOTT, et al.,                      §
                                          §
         Defendants.                      §

MEXICAN AMERICAN LEGISLATIVE              §
CAUCUS, et al.,                           §
                                          §
         Plaintiffs,                      §
                                          §          Case No. 3:21-cv-988
v.                                        §           [Consolidated Case]
                                          §
STATE OF TEXAS, et al,                    §
                                          §
         Defendants.                      §

                             MOTION TO DISMISS
               THE MALC PLAINTIFFS’ SECOND AMENDED COMPLAINT
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                                           INTRODUCTION

        Despite the Court’s guidance in its Memorandum Opinion and Order on Defendants’ motions

to dismiss, see ECF 307 (“Opinion”), and despite multiple attempts at repleading, several of the claims

asserted in MALC’s second amended complaint are plainly deficient. The Court should grant the mo-

tion to dismiss and, in so doing, narrow the scope of the issues to be presented at trial.

        First, MALC has failed to adequately plead several of its vote dilution claims brought under

Thornburg v. Gingles, 478 U.S. 30 (1985). Most glaringly, for several districts—HD37, HD90, CD15,

ED2, and ED3—MALC fails to allege that the minority preferred candidate will “usually” lose due to

which bloc voting under the enacted maps. MALC therefore cannot satisfy the third Gingles precon-

dition for those claims.

        Second, MALC has failed to adequately plead its malapportionment claim under Larios v. Cox,

300 F. Supp. 2d 1320 (N.D. Ga. 2004) (three-judge court). Where, as here, a plan’s maximum popu-

lation deviation is less than 10%, the plan is presumptively constitutional. Only by rebutting that pre-

sumption with clear evidence that the challenged population deviations are intentionally discrimina-

tory or arbitrary can a plaintiff succeed. MALC fails to do so because it pleads no facts tending to

show discriminatory intent, pointing only to population deviations in the El Paso, West Texas, and

Panhandle areas. But as the Court has already recognized, “the grouping is inherently arbitrary.” Opin-

ion at 58. MALC fails to substantively add to its allegations on repleading. Thus, without more, MALC

cannot rebut the presumption that the deviations found in the new House map are constitutional.

                                              ARGUMENT

I.      Several of MALC’s Gingles Claims Should be Dismissed

        In the Court’s Opinion, it clarified the allegations required to plead a vote dilution claim under

Thornburg v. Gingles. Opinion at 30–33. At this stage, the three essential preconditions are well known.

        (1) The minority group must be able to demonstrate it is sufficiently large and geo-
        graphically compact to constitute a majority in a single-member district;


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        (2) The minority group must be able to show that it is politically cohesive; and

        (3) The minority [group] must be able to demonstrate that the white majority votes
        sufficiently as a bloc to enable it—in the absence of special circumstances, such as the
        minority candidate running unopposed—usually to defeat the minority’s preferred
        candidate.

Gingles, 478 U.S. at 50–51; see Growe v. Emison, 507 U.S. 25, 39–41 (1993) (“Gingles preconditions” are

required in “a § 2 dilution challenge to a single-member districting scheme”). The Court stressed that

the plaintiff must allege facts supporting the preconditions. For instance, a plaintiff cannot simply allege

that a racial group is “cohesive.” That “type of allegation is a ‘[t]hreadbare recital[ ] of [an] element[ ]

of a cause of action’; it isn’t worth anything.” Opinion at 38 (quoting Iqbal, 556 U.S. at 678).

        In response to the Court’s Opinion, MALC chose not to reallege several claims—including

HD31, HD80, HD118, and claims pertaining to House districts in “West Texas, Central Texas, and

the Nueces County region.” See ECF 247 ¶¶ 98–104, 114–20, 128–32, 144–47. And correctly so, for

these allegations suffered important defects. But the defects extend to several claims even as repleaded.

        At least five of MALC’s claims fail to allege facts that, if proven, would satisfy the third Gingles

precondition. Some of these claims fail to allege that the Hispanic candidate of choice will lose at all.

But most of them allege that the Hispanic candidate of choice may or could lose as a result of Anglo

bloc voting. This is not what Gingles requires. On the contrary, Gingles requires that “the white majority

votes sufficiently as a bloc to enable it . . . usually to defeat the minority’s preferred candidate.” Opin-

ion at 32 (quoting Gingles, 478 U.S. at 51) (emphasis added). “So the question posed by the third Gingles

precondition is concrete: If the state’s districting plan takes effect, will the voting behavior of the white

majority cause the relevant minority group’s preferred candidate ‘usually to be defeated?’” Robinson v.

Ardoin, --- F.4th ---, 2022 WL 2104123, at *9 (5th Cir. June 12, 2022). In addition, a plaintiff faces an

‘“obvious, difficult burden’ in establishing” the third precondition where, as here, the districts at issue

are “not majority Anglo by CVAP.” Opinion at 33 (quoting Salas v. Southwest Texas Junior College District,




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964 F.2d 1542, 1555 (5th Cir. 1992)). 1 See Table 1, below.

                     Table 1. Citizen Voting Age Population for Selected Districts 2

              District                    HCVAP                     Anglo CVAP                       BCVAP
               HD37                          77.8                         20.3                          0.7
               HD90                          49.2                         30.3                         18.1
               CD15                          73.8                         23.0                          1.6
                ED2                          71.5                         24.5                          2.4
                ED3                          57.8                         31.8                          7.4

         Moreover, usually not just mean 51%. See, e.g., Lewis v. Alamance County, 99 F.3d 600, 606 n.4

(4th Cir. 1996) (“We do not imply that the third Gingles element is met if plaintiffs merely show that

white bloc voting defeats the minority-preferred candidate more often than not.”) (Luttig, J.) (collect-

ing cases); Gingles, 478 U.S. at 99–100 (O’Connor, J., concurring) (“The Court must find that even

substantial minority success will be highly infrequent.”) (emphasis added); Uno v. City of Holyoke, 72 F.3d

973, 985 (1st Cir. 1995) (“[T]o be legally significant, racially polarized voting in a specific community

must be such that, over a period of years, whites vote sufficiently as a bloc to defeat minority [-pre-

ferred] candidates most of the time.”) (emphasis added). To be sure, plaintiffs “are not required to show

that minority candidates always lose to white candidates.” Arbor Hill Concerned Citizens Neighborhood

Ass’n v. Albany County, 281 F. Supp. 2d 436, 450 (S.D.N.Y. 2003) (That minority-preferred candidates

were successful 11% of the time could not disprove that the minority-preferred candidate usually lost).

But they must allege specific facts tending to show that the minority candidate of choice will suffer

“usual and predictable defeat.” LULAC v. Clements, 999 F.3d 831, 888 (5th Cir. 1993) (en banc). For


1   Though to be sure, the fact that a district is not Anglo majority does not “preclude” a plaintiff from making the required
    showing. Opinion at 33.
2   This Table uses data from the Plan H2316, C2193, and E2106 plan packets. See Ex. A, Ex. B, Ex. C. These packets are
    available on the State’s Capitol Data Portal website. See generally https://data.capitol.texas.gov/. These and other pub-
    licly available materials are subject to judicial notice and therefore may be considered in deciding a motion to dismiss.
    See Fed. R. Evid. 201; e.g., Cinel v. Connick, 15 F.3d 1338, 1343 n.6 (5th Cir. 1994) (“In deciding a 12(b)(6) motion to
    dismiss, a court may permissibly refer to matters of public record.”).



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“the usual predictability of the majority’s success distinguishes structural dilution from the mere loss

of an occasional election.” Gingles, 478 U.S. at 51.

        HD37. MALC fails to allege the Latino candidate of choice in HD37 will usually be defeated

by bloc Anglo votes. Indeed, Anglo voters constitute only 20.3 CVAP. Table 1. Instead, MALC alleges

only that the Latino preferred candidate might lose: “It is possible for the Anglo majority to control

elections in HD37.” Compl. ¶ 118. That is not enough. This claim should be dismissed because MALC

fails to allege that white bloc voting will usually case the Latino preferred candidate to lose.

        HD90. MALC fails to allege that the Latino preferred candidate will lose in HD90. That alone

damns its claim. To be sure, MALC alleges that Latinos have less voting power under the new district.

See Compl. ¶ 123 (Plan H2316 “reduced Latino voting power in the district, weakening the ability of

Latino voters in the area to elect the candidate of their choice in Democratic primary elections.”); id.

¶ 130 (HD90 “serves to undermine the ability of Latinos in the area to elect their candidate of choice

in primary elections.”). But MALC stops short of alleging that the Latino preferred candidate will

actually lose either the primary or general election. This omission is striking in comparison to other

sections of the complaint. Compare id. ¶ 151 (as to HD17, “Anglos in the current HD 17 vote as a bloc

to consistently defeat the Latino candidate of choice. Ecological inference indicates that between 75%

and 95% of Anglos bloc voted to defeat the Latino candidate of choice in reconstituted statewide

election results in every general election between 2014 and 2020.”). Without any specific facts tending

to show that the Latino preferred candidate will lose in HD90, MALC cannot support its claim.

        But even if MALC could show that the Latino preferred candidate would lose—which it has

not—it still would not be able to state a vote-dilution claim. MALC focuses on the Democratic pri-

mary election, alleging that Anglo and Black voters (48.4 CVAP combined) will vote together and

against the Hispanic (49.2 HCVAP) preferred candidate. See Compl. ¶¶ 120–30. Even assuming the

Hispanic candidate were to lose in this situation, the cause would not be Anglo bloc voting. Rather, by



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MALC’s own pleading, Anglo and Black voters will have formed a coalition. The third precondition

is not satisfied where a minority’s candidate of choice loses because of coalition voting. This is nearly

the exact same fact pattern as one of the claims in LULAC v. Clements. See 999 F.2d at 888:

        In the one district court and two county court primary elections analyzed by the par-
        ties, the Hispanic, and Hispanic-preferred, candidate was defeated by a white majority.
        In one of these races, however, white voters gave their support to a black candidate,
        and thereby defeated both the Hispanic Castro and Hughes, a white candidate. Ken-
        nedy, the black candidate, had the overwhelming support of black as well as white
        voters, so it is difficult to conclude that Castro was defeated by a white bloc. Castro and
        Hughes were defeated by a black-white coalition. Thus, Castro’s defeat is not evidence of the
        white majority’s ability “usually to defeat the minority's preferred candidate.

        So too here. Even if the Latino preferred candidate were to lose HD90—which MALC has

not alleged—the cause would be a white and black coalition, not white bloc voting. The HD90 claim

should be dismissed for this additional reason as well.

        CD15. MALC also fails to show that the Latino preferred candidate will lose in CD15. As with

several of MALC’s other claims, here MALC only alleges that the Hispanic preferred candidate may

lose. See Compl. ¶ 176 (“Reconstituted election results indicate that in 4 out of 8 analyzed statewide

elections between 2014 and 2020, the Latino candidate of choice would have lost in the enacted CD

15.”). Assuming those allegations as true, they do not show that the minority candidate of choice will

usually lose; they show only that it is equally likely the Latino preferred candidate will win as it is that

he or she will lose. This is insufficient to satisfy the third Gingles precondition.

        MALC may respond that it has alleged the Latino candidate of choice in CD27 is sure to lose,

but that allegation is irrelevant. See Compl. ¶ 176 (“Reconstituted election results indicate that . . . in 8

of the 8 elections . . . the Latino candidate of choice . . . would have lost in CD 27.”). MALC proposes

to reconfigure CD15 and CD27 to pack Latino voters in CD15 at the expense of CD27. To illustrate,

under proposed Plan C2167—on which MALC’s remedial map appears to be based, see Figure 1,

below—the HCVAP in CD15 grows from 73.8 to 82.1, and the HCVAP in CD27 falls from 48.8 to

42.5. Compare Ex. A, with Ex. D. In other words, even under MALC’s preferred configuration, MALC


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does not allege the Latino preferred candidate would win CD27.

          Figure 1. Comparison of Plan C2166 and MALC Proposed Alternative Map

                      MALC Proposal                                Plan C2167




        The upshot is that MALC does not identify a Hispanic population in the CD27 region that it

contends should be able to elect its candidate of choice. Therefore, allegations tending to show that the

Latino preferred candidate in CD27 as presently drawn will lose are irrelevant to its claim as to CD15.

        ED2 and ED3. A similar defect is present with respect to MALC’s claims as to ED2 and ED3.

As always, MALC is required to allege specific facts showing that the Latino candidate of choice will

usually lose due to bloc Anglo voting. But here, MALC alleges only that the Hispanic preferred candi-

date win, or may not. See Compl. ¶ 186 (“the performance of [ED2 and ED3] is at best marginal when




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it comes to electing candidates of choice.”). Elsewhere, MALC alleges that in 55% (ED2) or 22%

(ED3) of some subset of analyzed elections, the Latino preferred candidate would lose. See id. ¶¶ 188,

190. That is not enough. Merely alleging that the Latino candidate of choice would lose some elections

is not the same thing as showing that the same candidate would usually lose, absent exceptional cir-

cumstances. Even alleging that the probability of electoral defeat is greater than 50%, as with ED2,

does not suffice. MALC must allege that the Latino preferred candidate will suffer “usual and predict-

able defeat.” LULAC, 999 F.3d at 888. Simply alleging that such a candidate would lose five out of

nine arbitrarily chosen elections falls short of establishing that he or she would lose “most of the

time.” Uno, 72 F.3d at 985.

II.        MALC’s Larios Claim Should be Dismissed

           The Court dismissed MALC’s Larios claim, Opinion at 57–58, and MALC has failed to state a

claim on repleading. Larios is based on the following controversial assertion: “[A] state legislative re-

apportionment plan that systematically and intentionally creates population deviations among districts

in order to favor one geographic region of a state over another violates the one person, one vote

principle firmly rooted in the Equal Protection Clause.” Larios, 300 F. Supp. 2d at 1347. But that

decision is not binding here due to the nature of the Supreme Court’s review. Summary affirmances

like Larios “have limited precedential value.” Baca v. Berry, 806 F.3d 1262, 1275 (10th Cir. 2015). 3

           Rather than Larios, the applicable principles flow from the Supreme Court’s binding decisions.

Firstly, an “apportionment plan with a maximum population deviation [from ideal district size] under

10% falls within” the “category of minor deviations” that are “insufficient to make out a prima facie

case of invidious discrimination under the Fourteenth Amendment so as to require justification by the


3     As such, “the particularities of Larios’s holding that certain Georgia reapportionment plans violated one-person-one-
      vote principles have little to say to” claims asserted in different circumstances. Id. (internal citations omitted); see also
      League of Women Voters of Chicago v. City of Chicago, 757 F.3d 722, 725 n.2 (7th Cir. 2014) (affirming district court decision
      to dismiss Larios claim) (“[A] summary affirmance means that the Supreme Court agreed with the judgment “but not
      necessarily the reasoning by which it was reached.”) (quoting Mandel v. Bradley, 432 U.S. 173, 176 (1977)).



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State.” Voinovich v. Quilter, 507 U.S. 146, 161 (1993); see also Brown v. Thompson, 462 U.S. 835, 843 (1983).

As such, minor population deviations are “presumed to be constitutionally valid absent a showing of

‘arbitrariness or discrimination.’” League of Women Voters of Chicago, 757 F.3d at 725 (quoting Roman v.

Sincock, 377 U.S. 695, 710 (1964)). “[I]f the maximum deviation is less than 10%, the population dis-

parity is considered de minimis and the plaintiff cannot rely on it alone to prove invidious discrimination

or arbitrariness.” Daly v. Hunt, 93 F.3d 1212, 1220 (4th Cir. 1996) (quoting Roman, 377 U.S. at 710 and

Reynolds v. Sims, 377 U.S. 533, 577 (1964)).

         MALC’s theory is that the House map presents “systemic overpopulation” of districts in the

El Paso region, designed for the purpose of preventing Latino voters of an additional House district.

Compl. at p. 27. It points to a number of districts in West Texas and the Panhandle—namely, HD 69,

71, 72, 81, 82, 83, 84, 86, 87, and 88—notes that they are underpopulated relative to the ideal, and

concludes that this difference is the result of “ethnic” and “regional bias.” Id. ¶ 260. This is altogether

conclusory and insufficient to state a claim under Larios.

         Without more, MALC cannot plausibly allege that Plan H2316 was intentionally and system-

atically drawn to discriminate against Latino voters in the El Paso and upper Rio Grande Valley region.

Nothing in the complaint tends to show that the districts to which MALC points were treated differ-

ently than any other over- or underpopulated district or series of districts. Indeed, there are plenty of

examples of regions in Hispanic-majority districts that are underpopulated and White-majority dis-

tricts that are overpopulated. For instance, a series of districts North of Harris County are nearly

uniformly (i) majority white, and (ii) overpopulated. 4 And a series of districts in the lower Rio Grande

Valley are nearly uniformly (ii) majority Hispanic, and (ii) underpopulated. 5



4   Across House Districts 3, 12, 14, 15, 16, 18, 85, and 127, every district has a majority white CVAP, and the average
    population deviation is + 3.40%. See Ex. A.
5   Across House Districts 35, 36, 37, 38, 39, 40, and 41, every district has a majority HCVAP, and the average population
    deviation is - 3.54%. See Ex. A.



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         Under MALC’s logic, these numbers would suggest the lower Rio Grande Valley was treated

favorably and the area North of Harris County treated unfavorably. But in reality, they merely illustrate

that MALC’s comparison of the El Paso region to the series of districts in West Texas and the Pan-

handle comes entirely out of context, and with entirely no specific supporting facts. Nor does MALC

grapple with the obvious alternative explanation: that El Paso and the upper and lower Rio Grande

Valley lost population relative to the rest of the State. And it fails to recognize that Hispanic majority

districts were, as a whole, neither overpopulated nor underpopulated.

         It is undisputed that Plan H2316 has a maximum deviation of 9.98%—below the 10% limit

set forth by Supreme Court precedent. As the Court explained, “state and local legislative maps pre-

sumptively comply with the one-person, one-vote rule as long as their population deviations are less

than 10%.” Opinion at 57. For this reason, the State “is entitled to a presumption that the apportion-

ment plan was the result of an ‘honest and good faith effort to construct districts . . . as nearly of equal

population as is practicable.” Daly, 93 F.3d at 1220 (quoting Reynolds v. Sims, 377 U.S. 533, 577 (1964)). 6

         MALC previously failed to state a claim because it alleged only that the new House map “sys-

tematically overpopulates” Hispanic-majority districts, without alleging any facts tending to show that

the deviations in House map are “arbitrary” or “discriminatory.” Roman, 377 U.S. at 710. Indeed, the

Court recognized that MALC provided “few details.” Opinion at 58. MALC alleged the El Paso dis-

tricts were overpopulated at the expense of districts in West Texas and the Panhandle, but the Court

rightly discredited that assertion as “inherently arbitrary,” further explaining that “trends within one

sparsely populated region are not ‘systemic’ within Texas as a whole.” Id. Without more, MALC failed

to state a malapportionment claim. See id. (“Given that the House plan is within the presumptively



6   It is clear that rebutting the presumption of legislative good faith is an independent analytical requirement. Indeed,
    earlier this month, the Eleventh Circuit unanimously stayed a Florida district court’s judgment in part because the
    court failed to “meaningfully account[] for the presumption at all.” League of Women Voters of Florida v. Lee, 32 F.4th
    1363, 1373 (11th Cir. 2022) (per curiam).



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valid range, MALC has not adequately pleaded a violation of the one-person, one-vote requirement.”).

         The second amended complaint does not cure these deficiencies. As before, its grouping of

districts is “inherently arbitrary,” focusing on El Paso and West Texas without any evidence that the

drawing of districts in these regions was in any way connected. Indeed, the allegations in the amended

complaint are largely unchanged, except including a proposed remedial map. Compare Compl. ¶¶ 93–

106, with ECF 247 ¶¶ 89–97. MALC also adds a figure depicting the population deviations in what it

believes to be the pertinent districts, see Compl. Figure 4, but this is just a visualization of arbitrarily

selected population numbers. And despite the Court’s observation that the omission of HD53 from

MALC’s analysis is “striking,” Opinion at 58, MALC leaves HD53—which is both majority Anglo

and overpopulated—out of its new figure. 7

         It is black letter law that for deviations of less than 10%, “the population disparity is consid-

ered de minimis and the plaintiff cannot rely on it alone to prove invidious discrimination or arbitrari-

ness.” Daly, 93 F.3d at 1220. But that is precisely what MALC does. The second amended complaint

offers nothing more than deviation numbers and related legal conclusions; it does not allege a single

specific fact tending to show that the deviations in House map are “arbitrary” or “discriminatory.”

Roman, 377 U.S. at 710. In the complaint, MALC merely restates the deviation percentages, places

them in a figure, see Compl. at p. 73, and concludes that “the pernicious effect is obvious.” Id. ¶ 259.

MALC goes on to conclude that “the systematic over-population of Latino districts in El Paso” op-

erates to “deprive[] these communities of equal representation.” Id. ¶¶ 102, 262. Those are legal con-

clusions, not factual bases from which to infer discrimination.




7   MALC attempts to justify this omission by arguing that HD53 is more “accurately characterized as being in the Texas
    Hill Country, rather than West Texas.” Compl. ¶ 258. But this purported distinction just highlights the flaw in MALC’s
    claim: there is no evidence whatsoever that these district groupings were considered by the Legislature.



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                Figure 2. Plan H2100 Population Deviation Map




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         MALC’s attempt to identify a basis for grouping El Paso, West Texas, and the Panhandle is

unavailing: “Further, the grouping is not arbitrary because it represents an impermissible regional bias

that clearly also advantages one ethnic group over the other.” Compl. ¶ 260. That assertion is circular:

The grouping is not arbitrary because it shows regional bias; The grouping shows regional bias because

it is not arbitrary. Simply put, the second amended complaint, as before, alleges no specific facts tend-

ing to show that any “trend” in El Paso is related to any “trends” in West Texas and the Panhandle,

to the extent there are meaningful trends at all.

         Moreover, MALC overlooks other highly-relevant background facts. First, it is clear that the

House districts along the southern border substantially decreased in population relative to the rest of

the State. Indeed, thirteen of the fifteen districts along the upper and lower Rio Grande Valley lost

population relative to the ideal. See Figure 2, above. MALC does not dispute that population changes

meant that, under federal one-person-one-vote precedent, the 2021 Legislature could not assign six

districts to El Paso County, as the 2013 Legislature had. Nor does MALC dispute that the districts

drawn by the 2021 Legislature are within the threshold established in the Supreme Court’s one-person-

one-vote cases.

         Figure 2 illustrates a clear basis for the configuration in the El Paso region: those districts lost

a substantial amount of population relative to the rest of the State. The Court need go no further to

conclude that the numbers MALC cites do not rebut the presumption of good faith afforded to State

legislatures in cases of deviations less than 10%. But if more were needed—which it is not—the Court

should also note that districts with a majority HCVAP are almost perfectly balanced with respect to

population deviations. See Table 2, below; see also Ex. A at 22–29. 8 Indeed, of the thirty such districts,

fifteen have a positive population deviation, and fifteen have a negative deviation. The mean and


8   This table is based on data from Exhibit A. For the HCVAP data, see p. 33–37; for the population deviation data, see
    p. 22–29. Following the population deviation map, see Figure 1, the purple cells indicate a population deviation of less
    than zero, and green cells indicate a deviation greater than zero. Darker shades are used for deviations exceeding 2.50%.



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median deviation are almost zero, being -.071% and -.195% respectively.

                Table 2. Population Deviation for HCVAP Majority Districts

              House District            HCVAP                Population Deviation
                     31                   66.6                        -4.81
                     34                   71.7                        -2.44
                     35                   93.7                        -0.50
                     36                   89.0                        -3.90
                     37                   77.8                        -4.84
                     38                   91.5                        -4.19
                     39                   89.0                        -4.17
                     40                   90.5                        -4.55
                     41                   80.4                        -2.62
                     42                   92.6                        -4.93
                     43                   59.7                            1.17
                     74                   77.4                            4.60
                     75                   89.8                            3.19
                     77                   85.6                            4.95
                     78                   66.4                            4.88
                     79                   75.1                            3.64
                     80                   77.6                        -0.88
                     81                   51.9                        -4.96
                    104                   56.3                        -4.53
                    116                   59.1                            2.79
                    117                   68.7                            4.51
                    118                   56.4                            4.60
                    119                   64.8                            3.72
                    123                   62.0                            1.45
                    124                   68.9                            0.11
                    125                   62.6                            4.36
                    140                   70.2                        -4.18


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               House District              HCVAP                  Population Deviation
                     143                      60.0                          3.20
                     144                      64.8                          4.97
                     145                      55.7                          -2.78

        By contrast, in Larios, the discrimination was clear from the face of the legislative record. The

Georgia democratic leaders admitted that they “made no effort to make the districts as nearly of equal

population as was practicable,” instead deliberately and openly under-populating Democratic leaning

districts and overpopulating Republican leaning districts. Larios, 300 F. Supp. 2d at 1325–27. Among

other things, the legislative maps paired forty Republican incumbents in the state House and six in the

Senate. Id. at 1332–34. Perhaps most damning, the record was replete of statements confirming the

Democratic legislators’ intent to oust Republican members. See, e.g., id. at 1328 (Senator Robert Brown:

“[Y]ou had the desire on the part of the rural senators to have as many rural senators as possible.”);

id. (Linda Meggers, principal map drawer: “I took all of south Georgia and lassoed it in as if it were

one big district, and we had the population, and the deviation, and how many seats. So I knew how

many seats I could draw and be within five percent.”).

        Nothing of the sort is present here. MALC has not plausibly alleged intentional discrimination

against Hispanic voters. MALC’s allegations, even if assumed to be true, do not “show that the pre-

sent plan’s deviations and boundary shapes result from the predominance of similarly illegitimate fac-

tors,” which “makes Cox [v. Larios] inapposite here.” Harris v. Arizona Indep. Redistricting Comm’n, 578

U.S. 253, 264 (2016). Other than the population deviations themselves, MALC alleges no facts that

directly or circumstantially establish discriminatory intent. No procedural irregularities, no statements,

or anything else. Without more, MALC cannot rebut the presumption that the population deviations

present in the House map—which are less than 10%—are the result of good faith efforts to draw

appropriate legislative districts. And to be sure, Defendants need not justify the population deviations




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in the House map because the plan falls within” the “category of minor deviations” that are “insuffi-

cient to make out a prima facie case of invidious discrimination under the Fourteenth Amendment.”

Voinovich, 507 U.S. at 161. But if it did, the circumstances explained above—and others—would more

than adequately do so.

                                           CONCLUSION

       Defendants respectfully request that the Court dismiss the portions of the MALC Plaintiffs’

second amended complaint identified by this motion.


Date: July 1, 2022                        Respectfully submitted.

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                                          COUNSEL FOR DEFENDANTS


                                    CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on July 1, 2022, and that all counsel of record were served by CM/ECF.



                                                      /s/ Patrick K. Sweeten
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